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13

14                        UNITED STATES DISTRICT COURT
15
                        SOUTHERN DISTRICT OF CALIFORNIA
16

17
      Rocio De Alba,                                 Case No. '21CV547 AJB WVG
18

19                              Plaintiff,           Complaint for Violations of the Fair
                                                     Debt Collection Practices Act, the Fair
20
      vs.                                            Debt Buying Practices Act and the
21                                                   Rosenthal Act
22
      Velocity Investments, LLC and
      Mandarich Law Firm, LLP,
23

24                               Defendants.
25

26   ///
27   ///
28   ///

     Complaint


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 1
     I.     Introduction
 2          1.     Plaintiff Rocio De Alba (“De Alba” or “Plaintiff”) through her counsel,
 3   brings this action to challenge the acts of Defendants Velocity Investments, LLC
 4   (“Velocity”), and Mandarich Law Group, LLP (“Mandarich”) (collectively,
 5   “Defendants”) regarding violations of the Fair Debt Collection Practices Act
 6   (“FDCPA”), the California Fair Debt Buying Practices Act (“FDBPA”), and the
 7   California Fair Debt Collection Practices Act (“RFDCPA” or “Rosenthal Act”).
 8          2.     Plaintiff makes these allegations on information and belief, with the
 9   exception of those allegations that pertain to Plaintiff or Plaintiff’s counsel, which
10   Plaintiff alleges on personal knowledge.
11          3.     While many violations are described below with specificity, this
12   Complaint alleges violations of the statutes cited in their entirety.
13          4.     Any violations by Defendants were knowing, willful, and intentional,
14   and Defendants did not maintain procedures reasonably adapted to avoid any such
15   violations.
16          5.     Each named Defendant is an agent of the other Defendants, and each
17   Defendant is jointly and severally liable for the acts of the other Defendants.
18   II.    Jurisdiction
19          6.     Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15
20   U.S.C. §1692k(d) and 28 U.S.C. §1367 for supplemental state claims.
21          7.     This action arises out of violations by Mandarich of the FDCPA (15
22   USC 1692 et seq, by Velocity of the FDBPA (Cal. Civ. Code §1788.50, et seq) and
23   by Mandarich and Velocity of the Rosenthal Act (Cal. Civ. Code §1788, et seq).
24          8.     As Defendants engage in business in the state of California, committed
25   the acts that form the basis for this suit in the state of California, and filed this action
26   in this jurisdiction, the Court has personal jurisdiction over Defendants for purposes
27   of this action.
28   ///

     Complaint


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 1
            9.    Venue is proper as some or all of the acts at issue herein occurred in the
 2   County of San Diego.
 3   III.   Parties
 4   Plaintiff
 5          10.   Plaintiff is a natural person residing in California, and is a consumer
 6   within the meaning of 15 U.S.C. §1692a(3) of the FDCPA in that she is a natural
 7   person purportedly obligated to pay a consumer debt.
 8          11.   This action is related to an obligation or alleged obligation of a
 9   consumer to pay money, and this alleged obligation was incurred for personal,
10   family or household purposes.
11          12.   Plaintiff is a natural person from whom a debt collector sought to
12   collect a consumer debt which was due and owing or alleged to be due and owing,
13   and thus she is a “debtor” as that term is defined by California Civil Code
14   §1788.2(h) and incorporated into California Civil Code §1788.50(c).
15          13.   This case involves money, property or their equivalent, due or owing or
16   alleged to be due or owing from a natural person by reason of a consumer credit
17   transaction. As such, this action arises out of a consumer debt and “consumer credit”
18   as those terms are defined by Cal. Civ. Code § 1788.2(f) and incorporated into
19   California Civil Code §1788.50(c).
20   Mandarich
21          14.   Plaintiff is informed and believes that Defendant Mandarich is and was
22   at all relevant times a California limited liability partnership, or “LLP” and a person
23   who uses an instrumentality of interstate commerce or the mails in a business the
24   principal purpose of which is the collection of debts, or who regularly collects or
25   attempts to collect, directly or indirectly, debts owed or due or asserted to be owed
26   or due another and is therefore a debt collector as that phrase is defined by 15
27   U.S.C. §1692a(6).
28   ///

     Complaint


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 1
            15.    Defendant Mandarich, in the ordinary course of business, regularly, and
 2   on behalf of himself, herself, or others, engages in debt collection as that term is
 3   defined by California Civil Code §1788.2(b), and is therefore a debt collector as that
 4   term is defined by California Civil Code §1788.2(c).
 5   Velocity
 6          16.    Plaintiff is informed and believes that Defendant Velocity is and was at
 7   all relevant times a New Jersey limited liability company, or “LLC” engaged in the
 8   business of purchasing and collecting charged-off consumer debts with its principal
 9   place of business located at 1800 Route 34 North, Building 3, Suite 303 in Wall,
10   New Jersey.
11          17.    Defendant Velocity, in the ordinary course of business, regularly, and
12   on behalf of himself, herself, or others, engages in debt collection as that term is
13   defined by California Civil Code §1788.2(b), and is therefore a debt collector as that
14   term is defined by California Civil Code §1788.2(c).
15   IV.    Other parties of interest
16          18.    LendingClub Corporation is a Delaware corporation domiciled in
17   California, with an address of 595 Market Street, Suite 200 in San Francisco,
18   California registered with the Secretary of State of the State of California, and that
19   also uses the address of 71 Stevenson Street, Suite 300, San Francisco, CA 94105.
20   V.     Facts Common to all Claims for Relief
21   Filing of False Claims in the Collection Complaint and the timing of this action
22          19.    On October 13, 2020, Velocity filed a complaint (“Collection
23   Complaint”) in the Superior Court of California for the County of San Diego against
24   Plaintiff in the matter of Velocity Investments, LLC v. Rocio De Alba, et al, case
25   number 37-2020-00036433-CL-CL-CTL (“Collection Action”), a copy of which
26   was later served on Plaintiff.
27   ///
28   ///

     Complaint


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 1
     Failure to provide a true address for the “charge-off” creditor
 2          20.     Defendant alleged at paragraph 4 of the Collection Complaint that the
 3   charge-off creditor for the account at issue was HCG Consumer Credit IV, LLC, and
 4   that HCG Consumer Credit IV, LLC’s address was “71 Stevenson Street, Suite 300,
 5   San Francisco, CA 94105.”
 6          21.     Plaintiff is informed and believes, and thereon alleges that HCG
 7   Consumer Credit IV, LLC never had an address of “71 Stevenson Street, Suite 300,
 8   San Francisco, CA 94105,” and in fact that address is actually the address of
 9   Lending Club Corporation.
10   Retainer of Counsel and Filing of Answer
11          22.     On December 7, 2020, Ms. De Alba’s counsel, Recordon & Recordon
12   APC, filed an answer in this matter on Ms. De Alba’s behalf.
13   Communication with a represented party and false statements
14          23.     On or around March 2, 2021, Mandarich Law Group, LLP
15   (“Mandarich”), counsel for Velocity Investments, LLC, sent a letter, bearing the
16   date of February 25, 2021, directly to Ms. De Alba, in which Mandarich stated in
17   bolded text that “THIS OFFICE HAS REQUESTED JUDGMENT BE
18   ENTERED AGAINST YOU.”
19          24.     This letter also stated that “You were served with the lawsuit and failed
20   to respond.”
21          25.     This letter had attached to it a Request for Entry of Default and
22   Judgment in this matter.
23          26.     As it turns out, as of the date of the letter, Mandarich had not actually
24   requested that a default or a default judgment be entered against Ms. De Alba.
25          27.     Additionally, Ms. De Alba filed her answer in this matter nearly three
26   months prior to the date of this letter, and additionally was represented by counsel.
27   ///
28   ///

     Complaint


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 1
            28.    Mandarich apparently did not bother to check to see what Ms. De Alba,
 2
     or Mandarich themselves, had actually filed in this matter, but simply attempted to
 3
     collect money.
 4
     Improper filing of a Request for Entry of Default and Judgment
 5
            29.    On or about March 5, 2021, Mandarich filed a Request for Entry of
 6
     Default and Judgment on this action, nearly three months after Ms. De Alba filed
 7
     her Answer in this matter.
 8
     Attempt to collect money directly from a represented party
 9
            30.    Ms. De Alba opened Mandarich’s letter on March 19, 2021.
10
            31.    Ms. De Alba, who is not an attorney, panicked and called the number
11
     listed on the letter.
12
            32.    Ms. De Alba spoke to an employee or agent of Mandarich.
13
            33.    This Mandarich employee or agent should have clarified that as Ms. De
14
     Alba had answered this lawsuit, she was actually not only not in default, but was not
15
     even in any danger of a default.
16
            34.    Instead, this employee or agent of Mandarich chose to take advantage
17
     of Ms. De Alba’s panicked state and mistaken belief that she had been defaulted and
18
     took Ms. De Alba’s bank account information to arrange for payments to
19
     Mandarich.
20
            35.    Mandarich should never have contacted a represented party, should
21
     never have filed a Request for Entry of Default and Judgment on a case where an
22
     answer was on file, and certainly should not have taken advantage of the confusion
23
     they caused by making false statements to extract bank account information from
24
     Ms. De Alba.
25
     ///
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     ///

     Complaint


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 1
     VI.    Allegations Specific to Certain Claims for Relief
 2                              FIRST CLAIM FOR RELIEF
 3                        (Violations of the FDCPA by Mandarich)
 4          36.   Plaintiff re-alleges and incorporates herein by reference the allegations
 5   contained in the paragraphs above.
 6          37.   Defendant Mandarich violated the FDCPA. Defendant’s violations
 7   include, but are not limited to the following:
 8          a.    15 U.S.C. §1692c(a)(2) by communicating with a consumer, in
 9   connection with the collection of a debt or alleged debt, where Mandarich knew that
10   the consumer was represented by an attorney and had knowledge of, or could readily
11   ascertain, the name and address of that attorney;
12          b.    15 U.S.C. §1692d by engaging in behavior the natural consequence of
13   which is to harass, abuse or oppress;
14          c.    15 U.S.C. §1692e by making a false, deceptive or misleading
15   misrepresentation in the collection of a debt;
16          d.    15 U.S.C. §1692e(2) by misrepresenting the character, amount or legal
17   status of a debt;
18          e.    15 U.S.C. §1692e(5) by threatening to take action that cannot legally be
19   taken, or was not intended to be taken;
20          f.    15 U.S.C. §1692e(10) by use of a false representation or deceptive
21   means to collect a debt; and
22          g.    15 U.S.C. §1692f by use of an unfair or unconscionable means to
23   collect or attempt to collect a debt.
24          38.   Plaintiff is entitled to actual damages sustained as a result of Defendant
25   Mandarich’s conduct, in an amount according to proof; to statutory damages of
26   $1,000 each; to costs of the action; and to reasonable attorney’s fees, all pursuant to
27   15 U.S.C. §1692k.
28   ///

     Complaint


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 1
                               SECOND CLAIM FOR RELIEF
 2                           (Violations of the FDBPA by Velocity)
 3          39.    Plaintiff repeats, re-alleges, and incorporates by reference all the
 4   allegations contained in the paragraphs above.
 5          40.    Velocity’s acts and omissions violated the California Fair Debt
 6   Buying Practices Act including, but not limited to Cal. Civ. Code §1788.58(a).
 7          41.    Velocity’s violations of Cal. Civ. Code §1788.58(a) include but are
 8   not limited to the following: Failing to state the address of the charge-off creditor
 9   at the time of charge off.
10          42.    As a proximate result of the violations of the California Fair Debt
11   Buying Practices Act, Ms. De Alba is entitled to her actual damages, statutory
12   damages, reasonable attorney’s fees and costs of this action.
13                                THIRD CLAIM FOR RELIEF
14                (Violations of the Rosenthal Act by all Named Defendants)
15          43.    Plaintiff repeats, re-alleges, and incorporates by reference all the
16   allegations contained in the paragraphs above.
17          44.    Defendants violated Cal. Civ. Code §1788.17, which incorporates
18   several of the provisions of the Fair Debt Collection Practices Act (“FDCPA”),
19   including, but not limited to, the following:
20          a.     15 U.S.C. §1692c(a)(2) by communicating with a consumer, in
21   connection with the collection of a debt or alleged debt, where Velocity’s agent
22   Mandarich knew that the consumer was represented by an attorney and had
23   knowledge of, or could readily ascertain, the name and address of that attorney;
24          b.     15 U.S.C. §1692d by engaging in behavior the natural consequence of
25   which is to harass, abuse or oppress;
26          c.     15 U.S.C. §1692e by making a false, deceptive or misleading
27   misrepresentation in the collection of a debt;
28   ///

     Complaint


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 1
            d.    15 U.S.C. §1692e(2) by misrepresenting the character, amount or legal
 2   status of a debt;
 3          e.    15 U.S.C. §1692e(5) by threatening to take action that cannot legally be
 4   taken, or was not intended to be taken;
 5          f.    15 U.S.C. §1692e(10) by use of a false representation or deceptive
 6   means to collect a debt; and
 7          g.    15 U.S.C. §1692f by use of an unfair or unconscionable means to
 8   collect or attempt to collect a debt.
 9          45.   Defendants’ violations of the Rosenthal Act were willful and knowing,
10   thereby entitling Plaintiff to statutory damages pursuant to Civil Code § 1788.30(b).
11          46.   As a proximate result of the violations of the Rosenthal Act committed
12   by Defendants, Plaintiff is entitled to any actual damages pursuant to California
13   Civil Code § 1788.30(a); statutory damages in an amount up to $1,000.00 each
14   pursuant to California Civil Code § 1788.30(b); and reasonable attorney’s fees and
15   costs pursuant to California Civil Code § 1788.30(c).
16                                  PRAYER FOR RELIEF
17          Plaintiff prays that judgment be entered against all named Defendant, and
18   prays for the following relief:
19   FDCPA
20          1.    An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1)
21   against Mandarich and for the Plaintiff;
22          2.    An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
23   1692k(a)(2)(A) against Mandarich and for the Plaintiff;
24          3.    An award of costs of litigation and reasonable attorney’s fees against
25   Mandarich and for the Plaintiff, pursuant to 15 U.S.C. § 1692k(a)(3);
26   FDBPA
27          1.    An award of actual damages pursuant to California Civil Code §
28   1788.62(a)(1) against Velocity and for Plaintiff;

     Complaint


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  1
             2.    An award of statutory damages of $1,000.00 pursuant to California
  2   Civil Code § 1788.62(a)(1) against Velocity and for Plaintiff;
  3          3.    An award of costs of litigation and reasonable attorney’s fees, pursuant
  4   to California Civil Code § 1788.62(c)(1) against Velocity and for Plaintiff;
  5   Rosenthal Act
  6          4.    An award of actual damages pursuant to California Civil Code §
  7   1788.30(a) against all named Defendants and for Plaintiff;
  8          5.    An award of statutory damages of $1,000.00 pursuant to California
  9   Civil Code § 1788.30(b) against all named Defendants and for Plaintiff;
 10          6.    An award of costs of litigation and reasonable attorney’s fees, pursuant
 11   to California Civil Code § 1788.30(c) against all named Defendants; and
 12          7.    Such other and further relief this court may deem just and proper.
 13

 14
                                        JURY DEMAND
 15
             1.    Plaintiff demands a trial by jury.
 16

 17
                                                       Respectfully submitted,
 18

 19

 20   Date: March 26, 2021                              /s/ Stephen G. Recordon
 21                                                    STEPHEN G. RECORDON
                                                       Attorney for Plaintiff
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      Complaint


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